      Case: 1:22-cv-03934 Document #: 16 Filed: 09/23/22 Page 1 of 2 PageID #:86




                        IN THE UNITED STATES DISTRICT COURT
                            NORTHN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

JOHN DOE,                                         )
                                                  )
                        Plaintiff,                )
                                                  )
v.                                                )     Case No. 1:22-CV-03934
                                                  )
NORTHWESTERN UNIVERSITY,                          )     Honorable Elaine E. Bucklo
                                                  )     Magistrate Judge Sunil R. Harjani
                        Defendant.
                                                  )

                       DEFENDANT NORTHWESTERN UNIVERISTY’S
                                NOTICE OF MOTION

To: All Counsel of Record:

         On Thursday, September 29, 2022, at 9:45 a.m., or as soon thereafter as counsel may be

heard, I shall appear before the Honorable Elaine E. Bucklo or any judge sitting in her stead, in

the courtroom usually occupied by her in Room 2243, of the U.S. District Court, Northern

District of Illinois, Eastern Division, 219 S. Dearborn St., Chicago, Illinois, and then and there

present the attached Defendant Northwestern University’s Motion to Dismiss Plaintiff’s

Complaint, a copy of is hereby served upon you.

         The Court will rule by written order and an appearance in court on the date of

presentment is not required.

                                             Respectfully submitted,
                                             HUSCH BLACKWELL LLP
                                             /s/ Scott L. Warner
                                             Scott L. Warner (#06231380)
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HB: 4877-2225-7717.1
      Case: 1:22-cv-03934 Document #: 16 Filed: 09/23/22 Page 2 of 2 PageID #:87




                               CERTIFICATE OF SERVICE

         The undersigned attorney hereby certifies that he caused the foregoing DEFENDANT

NORTHWESTERN UNIVERSITY’S NOTICE OF MOTION to be filed with the Clerk of

the court using the CM/ECF system, which will send electronic notification to the following

counsel of record this 23rd day of September, 2022:


Gianna R. Scatchell
Disparti Law Group, P.A.
121 W. Wacker Drive, Suite 2300
Chicago, Illinois
gia@dispartilaw.com

Counsel for Plaintiff



                                            /s/ Scott L. Warner




                                               2
HB: 4877-2225-7717.1
